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17
                               NORTHERN DISTRICT OF CALIFORNIA,
18
                                        SAN FRANCISCO DIVISION
19

20 IN RE GOOGLE PLAY STORE                                   Case No. 3:21-md-02981-JD
   ANTITRUST LITIGATION
21
   This Document Relates To:                                 DEFENDANT GOOGLE’S
22                                                           STATEMENT REGARDING
   Epic Games Inc. v. Google LLC et al., Case No.            FEBRUARY 1, 2023 MINUTE
23 3:20-cv-05671-JD                                          ORDER
24 In re Google Play Consumer Antitrust
   Litigation, Case No. 3:20-cv-05761-JD                     Judge:       Hon. James Donato
25
   State of Utah et al. v. Google LLC et al., Case
26 No. 3:21-cv-05227-JD

27 Match Group, LLC et al. v. Google LLC et al.,
   Case No. 3:22-cv-02746-JD
28

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         Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:21-cv-05227-JD; 3:22-cv-02746-JD
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 1          Defendant Google submits this statement in response to the Court’s February 1, 2023,

 2 Minute Entry (Dkt. No. 440, 3:21-md-02981-JD (“MDL”)) (“February 1 Order”).

 3          Google met and conferred with Plaintiffs on Thursday, February 2 and Friday, February 3

 4 and provided Plaintiffs with Google’s initial proposals on the search and production of additional

 5 chats and the production of backend log data. Plaintiffs likewise provided Google with their

 6 position on these issues during the parties’ conferences, and they identified certain objections to

 7 Google’s proposals. Since then, Google has worked diligently to identify potential ways to address

 8 Plaintiffs’ objections. On the night of Monday, February 6, 2023, the date of this submission,

 9 Google was working to provide Plaintiffs with a revised proposal when Plaintiffs filed their
10 response to the February 1 Order.

11          Google’s proposal, which addresses many of the concerns raised by Plaintiffs during the
12 parties’ meet-and-confer discussions, is set forth below. Google recognizes that Plaintiffs have not

13 had an opportunity to evaluate this revised proposal, and Google stands ready to engage further

14 with Plaintiffs to narrow any remaining disputes.

15 I.       GOOGLE’S PRODUCTION OF ADDITIONAL CHATS

16          The February 1 Order states: “Google will produce to plaintiffs within 14 days the chats

17 that were preserved for Custodians 22 through 383 listed in Exhibit A to the Declaration of Duy

18
     Ho, Dkt. No. 429-2. The parties will meet and confer on whether Google will conduct a
19
     responsiveness review prior to production of these chats.”
20
            With respect to this supplemental production, Google proposes to take the following steps:
21
     (1) collect all preserved post-Complaint chats for Custodians 22 through 383 (approximately
22
     715,000 total chats) 1; (2) apply to that collection all agreed-upon search terms used for this
23
     litigation, as well as the search terms “history off,” “history on,” and “off the record”; and (3)
24
     review the hits for responsiveness and privilege. For purposes of this review, Google will treat as
25
     responsive all chats in which a participant discusses turning history “on” or “off” or moving to a
26

27   1
    This number includes the total number of unique chats and excludes any family members. The
28 number including family members is approximately 1.1 million.

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 1 “history off” chat in the context of any legal hold, investigation, regulatory proceeding, or

 2 litigation. This means that Google will be producing all chats related not only to the subject matter

 3 of this litigation—which would of course include responsive chats that discuss history on or off—

 4 but also any other discussions of chat history settings as they relate to these custodians’

 5 preservation obligations. Google’s proposal is broader than the parties’ standard approach to

 6 custodial document productions in this litigation and will provide Plaintiffs with not only

 7 responsive chats from 362 additional custodians, but also chats that relate to a custodian’s

 8 discussion of history settings in the context of a legal hold, investigation, regulatory proceeding, or

 9 litigation.
10          Search Terms: Plaintiffs’ primary concern with the use of search terms is that the

11 application of the agreed-upon search terms in this case would screen out documents regarding

12 these custodians’ preservation of relevant chat messages. Google’s proposal addresses that

13 concern. As described above, Google’s proposal would capture such chats by (1) including

14 “history on,” “history off,” and “off the record” as search terms and (2) treating as responsive any

15 chat in which a participant discusses turning history on or off or moving to a history off chat in the

16 context of any legal hold, investigation, regulatory proceeding, or litigation.

17          Plaintiffs have not identified any other reason why Google should not be permitted to use

18 search terms. To the contrary, the use of search terms is consistent with the Court’s statements at

19 the last hearing. 1/31/23 H’rg Tr. 283:19-20 (“They’ll run the searches for all 300-and-whatever

20 are left, 22 through 300X”); see also id. at 282:12-283:3 (colloquy discussing Google’s proposal

21 to “run the same search terms”). Applying search terms is also consistent with the long-standing

22 approach to document production in this case by all parties.

23          Moreover, running search terms will significantly narrow the burden of a privilege

24 analysis. For example, 58 of the custodians for this search are members of Google’s legal

25 department, and, absent the application of search terms, Google would need to review all of their

26 approximately 44,000 chats for privilege. The broad search terms that Google proposes to run

27 against these chats were previously negotiated by the parties to identify relevant documents, and

28 there is no reason to abandon that agreed-upon approach here.

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 1          Responsiveness Review: Plaintiffs contend that Google should not be permitted to review

 2 the search term hits for responsiveness, as it has done for every other production in this litigation.

 3 A responsiveness review will yield chats that bear on the subject matter of this litigation, as well

 4 as Google employees’ discussion of chat history settings in the context of legal holds, while

 5 minimizing the production of personally sensitive and irrelevant information. See 1/12/23 H’rg Tr.

 6 22:20-24 (“And so internally, we have even really sensitive things, like folks who are in recovery

 7 and they have a community and an ongoing group chat where they share their own personal

 8 stories, really sensitive information. And those all are happening on -- via group chat.”) (testimony

 9 of G. Lopez). This step is appropriate because the purpose of this production is to identify chats
10 that are relevant to this litigation. See 1/31/23 H’rg Tr. 284:25-285:7 (“So you’ll go through these;

11 and if you find some things that are consistent with some of the other items you presented, that

12 will help me see the way to different inferences than I might otherwise make. If you go through all

13 of this and there isn’t a lick of chat that goes your way, then that’s going to also…be a basis for

14 guiding my inferences.”).

15          Google continues to commit to the February 14, 2023 deadline (2 weeks) set by the

16 Court’s order, and the above proposal addresses Plaintiffs’ concern by producing chats that

17 address history setting in the context of a litigation hold or investigation, going above and beyond

18 a traditional responsiveness review. Plaintiffs have not articulated why a timely responsiveness

19 review would cause prejudice.

20          Custodians: Plaintiffs contend that, in addition to the production of chats for “Custodians

21 22 through 383 listed in Exhibit A to the Declaration of Duy Ho,” Google should also be required

22 to produce additional chats for custodians 1 - 21 that go beyond the search terms and dates

23 negotiated by the parties. That is not what the Court ordered. In any event, with respect to those

24 custodians, Google has already produced non-privileged responsive documents for the time

25 periods agreed upon by the parties and hitting on the search terms agreed upon by the parties.

26 II.      GOOGLE’S PRODUCTION OF BACKEND LOG DATA

27          The February 1 Order states: “Google will produce to plaintiffs the ‘system-wide backend

28 log’ referenced in the Declaration of Devin Chen, Dkt. No. 429-4. Plaintiffs may depose Devin

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 1 Chen and/or other Google employees as reasonably needed for an understanding of the log and its

 2 data.”

 3          The “system-wide backend log” referenced in the Declaration of Devin Chen (“Chen

 4 Declaration”) (MDL ECF No. 429-4) contains a record of events related to the Google Chat

 5 product and is “designed to assist in addressing bugs” in the Google Chat software. Chen Decl. ¶

 6 4. Many of the events recorded to the log are unrelated to a users’ history settings, such as changes

 7 to a users’ time zone, and the logs include information related to non-party customers of the

 8 Google Workspace product (i.e. other companies and individuals who use Google Chat).

 9          Google will provide Plaintiffs this week with a list of the Google Chat events and fields in
10 the log and identify the events that relate to the chat history settings discussed in the Chen

11 Declaration. To the extent that Plaintiffs have additional technical questions regarding the

12 information stored in the log, Google will facilitate a discussion between Plaintiffs and a Google

13 subject matter expert who can answer Plaintiffs’ questions. This process will assist the parties in

14 determining which events and fields should be extracted from the log and produced to Plaintiffs.

15 Once the parties have agreed on the events and fields that Google will produce, Google intends to

16 produce an extract of the log data for the 383 legal hold recipients in an electronic format. As

17 instructed by the Court, Google will make Devin Chen and/or other employees available for

18 deposition as reasonably needed for an understanding of the log and its data.

19          Plaintiffs proposed that Google provide access to a “native” version of the log or, instead,
20 permit Plaintiffs direct access to the log at Google’s corporate offices. That proposal is

21 unnecessary, raises serious security and privacy concerns for Google customers, and is premature.

22          First, Google will provide agreed-upon relevant data from the system-wide backend log in
23 an electronic file format that Plaintiffs’ consultants can search and analyze. Counsel understands

24 that, due to the sheer volume of unrelated data stored in the log, searching the “native version” of

25 the log on Google’s servers for data relevant to the 383 legal hold recipients can take hours to

26 complete and results in an electronic file with the data for those specific individuals. In other

27 words, queries for specific fields or events on the log would simply produce an electronic file of

28 the type Google proposes to produce.

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 1           Second, allowing Plaintiffs’ consultants to physically access Google’s corporate offices

 2 and computer systems to access this log presents significant privacy and security risks to Google

 3 and non-parties because the log includes event data related to non-party customers of the Google

 4 Workspace product (i.e. other companies and individuals who use Google Chat). Counsel

 5 understands that the log is not designed to technologically restrict access to data relating to the 383

 6 Google employees at issue. Allowing Plaintiffs’ consultants to directly access the log on Google’s

 7 systems unnecessarily risks exposure of this non-party customer data. Nor have Plaintiffs

 8 identified any reason why it is necessary to obtain access to information relating to individuals not

 9 at issue in this case, including non-party customers of Google Chat and other Google products.
10           Third, there is no need for the Court to decide this issue now. Once Plaintiffs have
11 obtained the event information from Google, discussed the log with a Google subject matter

12 expert, and actually reviewed the log, the parties can revisit any additional questions or requests

13 from Plaintiffs on this issue.

14 III.      GOOGLE’S CHAT PRESERVATION SETTINGS

15           The February 1 Order states: “The parties will meet and confer about which of the relevant

16 custodians still have their history setting turned to ‘off’ for any of their chats, and whether Google

17 should now change those default history settings to ‘on’ for the core set of relevant custodians as

18 the parties agree.”

19           Plaintiffs have asked Google to turn history on for all 383 employees who have received

20 legal hold instructions in this case. The Court’s reference to “core set of relevant custodians” falls

21 short of encompassing every one of the 383 employees who received a hold notice in this matter.

22 However, we are analyzing the issues raised by Plaintiffs’ request and will report back to the

23 Court and Plaintiffs on or before Friday, February 10.

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 1 DATED: February 6, 2023                       Respectfully submitted,

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